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United States Bankruptcy Court

Eastern District of New York ) Related Dkt. No. 129
) Hearing Date and Time: June 3, 2020 at
In re 2:00PM

) Objection Deadline: April 24, 2020 by 5:00 pm
Renee Maslikhov; Renee Butler

Debtor

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Case No. 1-19-42688-cec

Address. 722 North Street
Fayetteville, NC 28301
(718) 207-2098

Chapter 11

Social Security Number: 2289

 

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Renee Maslkhov (“Debtor”), respectfully submits this response to the application of Dahiya Law
Offices, LLC (“Dahiya”) for allowance of fees and reimbursements of expenses for services ren-

dered during the period when Mr. Dahiya was counsel to the Debtor (the “Application”) (Dkt.
No. 129), and sets forth as follows:

at Debtor was referred to Dahiya Law Offices (“Dahiya”) for legal services to file Chapter
11 by Mr. Denrick Cooper, Esq (“Cooper”) when Debtor's husband, Sergei Maslikhov, would
not cooperate with the sale of the property purchased by Debtor before marriage. It was ex-
plained by Mr. Cooper that Debtor could move forward with the sale without Debtor’s hus-
band's approval by filing Chapter 11, giving the Bankruptcy Court control of the sale.

2. When Debtor met with Mr. Dahiya on May 1, 2019, Debtor briefed Mr. Dahiya on the
status of the sale of Debtor’s primary residence and stressed the urgency of filing by May 2,
2020 to circumvent the foreclosure proceedings brought forth by Standard Oil. During this
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conversation, Debtor inquired about Mr. Dahiya’s fees and stated that Debtor could not afford
an expensive case because Debtor was in the middle of a contested divorce and did not know
how much Debtor’s husband would be awarded in the divorce case. Mr. Dahiya responded,
“Don’t worry about that now. | must focus on submitting the motion to stop the foreclosure.
Debtor signed a retainer that day, however, Mr. Dahiya’s fees were not listed on the agreement
at that time and Mr. Dahiya did not provide Debtor with a copy of the retainer. Debtor did not
received a copy of the retainer until March 2, 2020, the same day Mr. Dahiya submitted it to the
Court.

3. Debtor is a Sole Proprietor with a total of 10 creditors and a single asset. None of the
secured or unsecured debt was ever contested by Debtor. Upon research, the average cost of
a Chapter 11 case for a Small Business is $10,000 -$25,000. Debtor’s only benchmark for at-
torney representation was based on clear communication on costs and fees and regular written
updates by Debtor’s divorce attorney.

Much of this case was responding to, in the words of Mr. Dahiya, "baseless and meritless"
claims from Debtor’s husband, Sergei Maslikhov. While multiple motions were filed by Mr.
Maslikhov, and hearings were scheduled to address those motions, none of them required sig-
nificant research in case law. The arguments proposed by Debtor’s husband were not relevant
in the Bankruptcy court, but instead, relevant in Divorce court, where there was an active case
pending, waiting for the sale of the property.

4, During the course of this case, Debtor asked Dahiya for updates on costs. This can be
verified by Cooper. Each time Mr. Cooper inquired to Debtor about Mr. Dahiya’s fees, Debtor
would ask for a current invoice from Mr. Dahiya. Each time Debtor requested an update on
costs, no update was provided by Mr. Dahiya. Dahiya finally explained to debtor that he in-
tended to sue Debtor’s husband, Sergei Maslikhov, for the cost of representation during this
case, and for the Debtor not to worry. This is the only conversation Mr. Dahiya had with Debtor
regarding his fees during the entire case.

5. It wasn’t until the Court asked Mr. Dahiya for his fee that Debtor became aware of a fee
of $100,000. Debtor thought it was inappropriate to object at that time because both attorneys,
Mr. Dahiya and Mr. Cooper, instructed Debtor not to say anything unless directly addressed by
the Court.

Immediately after the hearing, Debtor did questioned Mr. Dahiya about the reference to his fees
during the hearing to which Mr. Dahiya responded, “I will accepted whatever the Judge deems
fair; | don't care." Debtor immediately took issue with this as a vague answer and again re-
quested a detailed analysis on his fees. Mr. Dahiya again did not provide Debtor with an update
on costs and fees or written bills of any kind.

6. In conclusion, Debtor was uninformed of Mr. Dahiya’s fees throughout this case because he

failed to disclose them in a timely manner or with any detail. Debtor was given no opportunity
to access, renegotiate or find new counsel as an alternative if the costs and fees were not
agreeable. The costs and fees were not agreeable. Debtor would not have agreed to costs and
fees as submitted. Debtor would have sought other, more reasonable counsel.
